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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

State Of Illinois
                            Plaintiff,
v.                                                 Case No.: 1:17−cv−06260
                                                   Honorable Robert M. Dow Jr.
City Of Chicago
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 15, 2020:


       MINUTE entry before the Honorable Robert M. Dow, Jr: Settlement conference
held on 1/15/2020. Status hearing set for 1/27/2020 at 1:30 p.m. Mailed notice(cdh, )




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